
74 So.3d 145 (2011)
Chadwin A. STANLEY, JR., Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-1838.
District Court of Appeal of Florida, First District.
October 31, 2011.
Chadwin A. Stanley, Jr., pro se, Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
Petitioner is hereby granted a belated appeal of the May 18, 2009, judgment and sentence in Escambia County Circuit Court case number 2008-CF-004097. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(6)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
PETITION GRANTED.
DAVIS, VAN NORTWICK, and ROWE, JJ., concur.
